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                           Exhibit F
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                                    THE FITZPATRICK MATRIX
     Hourly Rates ($) for Legal Fees for Complex Federal Litigation in the District of Columbia
  Years Exp.
                 2013     2014    2015    2016     2017    2018     2019    2020     2021     2022
 / Billing Yr.
     35+          535     563     591      619      647     675      703     731      736      760
      34          534     562     590      618      646     674      702     729      734      758
      33          532     560     588      616      644     672      700     728      733      757
      32          530     558     586      614      642     670      698     726      730      754
      31          527     555     583      611      639     667      695     723      728      752
      30          524     552     580      608      636     664      692     720      725      749
      29          521     549     577      605      633     661      689     717      721      745
      28          517     545     573      601      629     657      685     713      717      741
      27          512     540     568      596      624     652      680     708      713      736
      26          508     536     564      592      620     648      676     704      708      731
      25          502     530     558      586      614     642      670     698      703      726
      24          497     525     553      581      609     637      665     693      697      720
      23          491     519     547      575      603     630      658     686      691      714
      22          484     512     540      568      596     624      652     680      684      707
      21          477     505     533      561      589     617      645     673      677      699
      20          470     498     526      553      581     609      637     665      670      692
      19          462     490     518      546      574     602      630     658      662      684
      18          453     481     509      537      565     593      621     649      653      675
      17          445     473     500      528      556     584      612     640      645      666
      16          435     463     491      519      547     575      603     631      635      656
      15          426     454     482      510      538     566      593     621      626      647
      14          416     443     471      499      527     555      583     611      615      635
      13          405     433     461      489      517     545      573     601      605      625
      12          394     422     450      478      506     534      562     590      594      614
      11          382     410     438      466      494     522      550     578      582      601
      10          371     399     427      455      483     510      538     566      570      589
       9          358     386     414      442      470     498      526     554      558      576
       8          345     373     401      429      457     485      513     541      545      563
       7          332     360     388      416      444     472      500     528      532      550
       6          319     347     375      403      431     458      486     514      518      535
       5          305     332     360      388      416     444      472     500      504      521
       4          290     318     346      374      402     430      458     486      489      505
       3          275     303     331      359      387     415      443     471      474      490
       2          260     287     315      343      371     399      427     455      458      473
       1          244     272     300      328      356     384      412     439      442      457
       0          227     255     283      311      339     367      395     423      426      440
      P*          130     140     150      160      169     179      189     199      200      207
* = Paralegals/Law Clerks



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                                            Explanatory Notes
1. This matrix of hourly rates for attorneys of varying experience levels and paralegals/law clerks has
   been prepared to assist with resolving requests for attorney’s fees in complex civil cases in District of
   Columbia federal courts handled by the Civil Division of the United States Attorney’s Office for the
   District of Columbia. It has been developed to provide “a reliable assessment of fees charged for
   complex federal litigation in the District [of Columbia],” as the United States Court of Appeals for the
   District of Columbia Circuit urged. DL v. District of Columbia, 924 F.3d 585, 595 (D.C. Cir. 2019). The
   matrix has not been adopted by the Department of Justice generally for use outside the District of
   Columbia, nor has it been adopted by other Department of Justice components.

2. The matrix is intended for use in cases in which a fee-shifting statute permits the prevailing party to
   recover “reasonable” attorney’s fees. E.g., 42 U.S.C. § 2000e-5(k) (Title VII of the 1964 Civil Rights
   Act); 5 U.S.C. § 552(a)(4)(E) (Freedom of Information Act); 28 U.S.C. § 2412(b). A “reasonable fee” is
   a fee that is sufficient to attract an adequate supply of capable counsel for meritorious cases. Perdue
   v. Kenny A. ex rel. Winn, 559 U.S. 542, 552 (2010). The matrix is not intended for use in cases in which
   the hourly rate is limited by statute. E.g., 28 U.S.C. § 2412(d).

3. For matters in which a prevailing party agrees to payment pursuant to this fee matrix, the United
   States Attorney’s Office will not request that a prevailing party offer the additional evidence that the
   law otherwise requires. See, e.g., Eley v. District of Columbia, 793 F.3d 97, 104 (D.C. Cir. 2015) (quoting
   Covington v. District of Columbia, 57 F.3d 1101, 1109 (D.C. Cir. 1995) (requiring “evidence that [the]
   ‘requested rates are in line with those prevailing in the community for similar services’”)).

4. The years in the column on the left refer to an attorney’s years of experience practicing law. Normally,
   an attorney’s experience will be calculated based on the number of years since an attorney graduated
   from law school. If the year of law school graduation is unavailable, the year of bar passage should
   be used instead. Thus, an attorney who graduated from law school in the same year as the work for
   which compensation is sought has 0 years of experience. For all work beginning on January 1 of the
   calendar year following graduation (or bar admission), the attorney will have 1 year of experience.
   (For example, an attorney who graduated from law school on May 30 will have 0 years of experience
   until December 31 of that same calendar year. As of January 1, all work charged will be computed as
   performed by an attorney with 1 year of experience.) Adjustments may be necessary if an attorney
   did not follow a typical career progression or was effectively performing law clerk work. See, e.g.,
   EPIC v. Dep’t of Homeland Sec., 999 F. Supp. 2d 61, 70-71 (D.D.C. 2013) (attorney not admitted to bar
   compensated at “Paralegals & Law Clerks” rate).

5. The data for this matrix was gathered from the dockets of cases litigated in the U.S. District Court for
   the District of Columbia using the following search in July 2020 in Bloomberg Law: keywords (“motion
   n/5 fees AND attorney!”) + filing type (“brief,” “motion,” or “order”) + date (“May 31, 2013 – May 31,
   2020” under “Entries (Docket and Documents)”). This returned a list of 781 cases. Of those, cases
   were excluded if there was no motion for fees filed, the motions for fees lacked necessary
   information, or the motions involved fees not based on hourly rates, involved rates explicitly or
   implicitly based on an existing fee matrix, involved rates explicitly or implicitly subject to statutory fee
   caps (e.g., cases subject to the Equal Access to Justice Act (EAJA), 28 U.S.C. § 2412(d)), or used lower
   rates prescribed by case law (e.g., Eley, 793 F.3d at 105 (Individuals with Disabilities in Education Act


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    cases)). After these excisions, 86 cases, many of which included data for multiple billers (and 2 of
    which only provided hourly rate data for paralegals), remained.

6. The cases used to generate this matrix constitute complex federal litigation—which caselaw
   establishes as encompassing a broad range of matters tried in federal court. E.g., Reed v. District of
   Columbia, 843 F.3d 517, 527-29 (D.C. Cir. 2016) (Tatel, J., concurring) (noting that cases arising under
   the Freedom of Information Act, Title VII, the Americans with Disabilities Act, Constitutional
   Amendments, antitrust statutes, and others have been deemed complex, and even “relatively small”
   cases can constitute complex federal litigation, as they too require “specialized legal skills” and can
   involve “complex organizations,” such as “large companies”); Miller v. Holzmann, 575 F. Supp. 2d 2,
   14-16, 17 (D.D.C. 2008) (prevailing market rates for complex federal litigation should be determined
   by looking to “a diverse range of cases”). That the attorneys handling these cases asked the court to
   award the specified rates itself demonstrates that the rates were “‘adequate to attract competent
   counsel, [while] not produc[ing] windfalls to attorneys.’” West v. Potter, 717 F.3d 1030, 1033 (D.C.
   Cir. 2013) (quoting Blum v. Stenson, 465 U.S. 886, 897 (1984)). As a consequence, the resulting
   analysis yields the “prevailing market rate[] in the relevant community” for complex litigation
   undertaken in federal courts in the District of Columbia. See Blum, 465 U.S. at 895.

7. From these 86 complex federal cases, the following information was recorded for 2013 and beyond:
   hourly rate, the calendar year the rate was charged, and the number of years the lawyer was out of
   law school when the rate was charged (or, if law school graduation year was unavailable, years since
   bar passage), as defined above. If the graduation or bar passage year was not stated in a motion or
   its exhibits, then the lawyer’s biography was researched on the internet. Although preexisting fee
   matrices for the District of Columbia provide for mid-year rate changes, very few lawyers in the data
   submitted rates that changed within a calendar year. For this reason, the matrix was modeled using
   one rate for each calendar year. On the occasions when a lawyer expressed an hourly rate as a range
   or indicated the rate had increased during the year, the midpoint of the two rates was recorded for
   that lawyer-year.

8. The matrix of attorney rates is based on 675 lawyer-year data points (one data point for each year in
   which a lawyer charged an hourly rate) from 419 unique lawyers from 84 unique cases. The lawyer-
   year data points spanned from years 2013 to 2020, from $100 to $1250, and from less than one year
   of experience to 58 years.

9. Paralegal/law clerk rates were also recorded. The following titles in the fee motions were included in
   the paralegal/law clerk data: law clerk, legal assistant, paralegal, senior legal assistant, senior
   paralegal, and student clerk. The paralegal/law clerk row is based on 108 paralegal-year data points
   from 42 unique cases. They spanned from 2013 to 2019 and from $60 to $290. (It is unclear how
   many unique persons are in the 108 data points because paralegals were not always identified by
   name.)

10. The matrix was created with separate regressions for the lawyer data and the paralegal data. For the
    paralegal data, simple linear least-squares regression was used with the dependent variable hourly
    rate and the independent variable the year the rate was charged subtracted from 2013; years were



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    combined into one variable and subtracted from 2013 rather than modeled as separate indicator
    variables to constrain annual inflation to a constant, positive number. The resulting regression
    formula was rate = 129.8789 + 9.902107 * (year-2013). For the lawyer data, least-squares regression
    was used with the dependent variable hourly rate and independent variables the year the rate was
    charged and the number of years of experience of the lawyer when the rate was charged. The year
    the rate was charged was subtracted from 2013 and modeled linearly as with the paralegal data. The
    number of years out of law school (or since year of bar passage) was modeled with both linear and
    squared terms, as is common in labor economics to account for non-linear wage growth (e.g., faster
    growth earlier in one’s career than at the end of one’s career). See, e.g., Jacob Mincer, Schooling,
    Experience, and Earnings (1974). The resulting regression formula was rate = 227.319 + 16.54492 *
    experience - 0.2216217 * experience ^ 2 + 27.97634 * (year-2013). Regressions were also run with
    log transformed rates and with a random-effect model (to account for several lawyers appearing more
    than once in the data), but both alternatives resulted in mostly lower rates than those reflected here;
    in order to minimize fee disputes, these models were therefore rejected in favor of the more generous
    untransformed, fixed-effect model. Rates from one case comprised 20% of the data; the regression
    was also run without that case, but the resulting rates were mostly lower and therefore rejected,
    again to minimize fee disputes.

11. The data collected for this matrix runs through 2020. To generate rates in 2021, an inflation
    adjustment (rounded to the nearest whole dollar) was added. The United States Attorney’s Office
    determined that, because courts and many parties have employed the legal services index of the
    Consumer Price Index to adjust attorney hourly rates for inflation, this matrix will do likewise. E.g.,
    Salazar v. District of Columbia, 809 F.3d 58, 64-65 (D.C. Cir. 2015); Eley, 793 F.3d at 101-02; DL, 924
    F.3d at 589-90.

12. This matrix was researched and prepared by Brian Fitzpatrick, the Milton R. Underwood Chair in Free
    Enterprise and Professor of Law at Vanderbilt Law School, with the help of his students.




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